
Upon consideration of the petition filed on the 7th of September 2017 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed by order of the Court in conference, this the 1st of November 2017."
The following order has been entered on the motion filed on the 11th of September 2017 by Defendant to Deem Petition for Discretionary Review Timely Filed:
"Motion Denied by order of the Court in conference, this the 1st of November 2017."
The following order has been entered on the motion filed on the 11th of September 2017 by Defendant to Consider Petition for Discretionary Review a Petition for Writ of Certiorari:
"Motion Denied by order of the Court in conference, this the 1st of November 2017."
